Case 1:05-cr-10022-.]DT Document 28 Filed 07/12/05 Page 1 of 2 PagelD 28

|N THE UN|TED STATES D|STR|CT COURT,
FOR THE WESTERN D|STR|CT OF TENNESSEE,

 

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Piaintirr, ) Wubsbg';vgé°¢:c:i.,°'°"‘
) 1
vs. ) No. 1-05-10022-Tan
)
LAMARio HuNT and )
LAKEsA BORNER, )
)
Defendants. )

 

ORDER GRANT|NG MOT|ON FOR ENLARGEMENT OF TlME
lN WH|CH TO FILE MOT|ONS

 

This matter, having come before this Honorable Court, upon the l\/lotion, by
Defendant Lakesa Borner, for Enlargement of Time in Which to Fi|e l'\/lotions1 upon
notification that the Plaintiff’s attorney has no opposition to the l\/iotion, and from the
entire record in this cause,

lT |S HEREBY ORDERED that Defendant, l_akesa Borner’s l\/lotion for
Enlargement of Time in W i h to File l\/lotions is hereby granted, and Defendant is
allowed an additionaMays from the entry of this Order, in which to file any
necessary |V|otions.

`H` w
ENTER; THis THE // "DAY oi= 0 J/ ,2005.

A.M

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This document entered on the docket sheet in compliance
with Ruie 58 andj'or_?Q (a) FRCP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 28 in
case 1:05-CR-10022 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

